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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES

Case No.      CR 20-326(A)-JFW                                                  Dated: June 10, 2022

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PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

Shannon Reilly                             None Present                       Mack Eric Jenkins
Courtroom Deputy                           Court Reporter                     Veronica Dragalin
                                                                               Cassie D. Palmer
                                                                              Asst. U.S. Attorney
                                                                                 Not Present


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U.S.A. vs (Dfts listed below) - Not Present Attorneys for Defendants - Not Present

5. Dae Yong Lee                                 5. Ariel A Neuman, Retained
                                                   Ray S Seilie, Retained
6. 940 Hill, LLC                                6. Ariel A Neuman, Retained
                                                   Ray S Seilie, Retained

______________________________________________________________________________
PROCEEDINGS (IN CHAMBERS): ORDER RE: DEFENDANTS DAE YONG LEE AND 940
                              HILL, LLC’S ASSERTION OF ATTORNEY-CLIENT
                              PRIVILEGE (Docket No. 488)

       To assist the Court in ruling on Defendants Dae Yong Lee and 940 Hill, LLC’s Assertion of
Attorney-Client Privilege for communications between defense counsel and certain members and
employees or agents of Defendant 940 Hill, LLC (Docket No. 488), the Court orders counsel for
Defendants Dae Yong Lee and 940 Hill, LLC to file a response to the Government’s Response to
Defendants’ Offer of Proof Re: Assertion of Attorney-Client Privilege (Docket No. 497-1) by noon
on June 11, 2022. The response shall include a privilege log containing information sufficient to
sustain the claim of privilege (including, but not limited to the date, parties involved and basis of
claim) for each privileged communication.


       IT IS SO ORDERED.




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